       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Derrick Renard Powell
        v. Commonwealth of Virginia
        Record No. 1825-12-3
        Opinion rendered by Senior Judge Annunziata on
        November 26, 2013

    2. Boyd B. Hedleston
        v. Virginia Retirement System
        Record No. 0725-13-2
        Opinion rendered by Senior Judge Bumgardner on
        December 3, 2013

    3. Kepa, Inc., d/b/a She-Sha Café and Hookah Lounge
        v. Virginia Department of Health
        Record No. 1164-12-3
        Opinion rendered by Judge Petty on
        December 17, 2013

    4. Tracy Wayne Claytor
        v. Commonwealth of Virginia
        Record No. 0309-13-3
        Opinion rendered by Judge Petty on
        December 17, 2013
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. William Gabriel Starrs
   v. Commonwealth of Virginia
   Record No. 2516-11-4
   Opinion rendered by Chief Judge Felton
    on October 23, 2012
   Judgment of Court of Appeals reversed, appellant’s sentences vacated, and matter
     remanded to this Court for remand to the trial court for further proceedings
     by opinion rendered on January 10, 2014 (122028)

2. Orlando Rondell Williams
   v. Commonwealth of Virginia
   Record No. 1031-11-2
   Opinion rendered by Judge Frank
    on October 23, 2012
   Refused (122005)

3. Dejuan Hodgins
   v. Commonwealth of Virginia
   Record No. 0899-11-3
   Opinion rendered by Judge Beales
    on November 6, 2012
   Refused (122075)

4. Wesley Brian Earnest
   v. Commonwealth of Virginia
   Record No. 0366-11-3
   Opinion rendered by Senior Judge Willis
    on December 4, 2012
   Refused (130018)

5. Kyle Cornelia Leftwich, a/k/a Kyle L. Banning
   v. Commonwealth of Virginia
   Record No. 2349-11-2
   Opinion rendered by Judge Frank
    on February 5, 2013
   Refused (130384)

6. John E. Hamilton
    v. Commonwealth of Virginia
   Record No. 1922-11-4
    Opinion rendered by Judge Alston
     on March 19, 2013
    Refused (130611)
7. Joseph A. Wiencko, Jr.
   v. Akemi Takayama
   Record No. 2078-12-4
   Opinion rendered by Judge McCullough
     on July 23, 2013
    Dismissed for lack of jurisdiction pursuant to Code § 17.1-410(A)(2) and (B) (131424)
      On January 10, 2014 the Supreme Court issued opinions in the following cases, which
had been appealed from this Court:

   1. Craig M. Linnon
      v. Commonwealth of Virginia
      Record No. 2418-11-2
      CAV petition for appeal denied by Judge Humphreys on September 19, 2012 and by
        Judges Humphreys, Kelsey and Beales on December 27, 2012
      Judgment of Court of Appeals affirmed
      (130179)

   2. Carlyn Maldonado-Mejia
      v. Commonwealth of Virginia
      Record No. 0466-12-2
      CAV petition for appeal denied by Judge Beales on October 10, 2012 and by
        Judges Humphreys, Kelsey and Beales on December 26, 2012
      Judgment of Court of Appeals affirmed
      (130204)

   3. Richard Gordon Findlay
      v. Commonwealth of Virginia
      Record No. 2506-11-4
      CAV petition for appeal denied by Judge Humphreys on November 7, 2012 and
        dismissed by Judges Beales, Alston and Senior Judge Willis on February 5, 2013
      Judgment of Court of Appeals reversed and remanded to this Court with direction to
        review the petition for appeal on the merits
      (130409)

   4. Richard Warren Allen
      v. Commonwealth of Virginia
      Record No. 0924-12-3
      CAV petition for appeal denied by Judge McCullough on November 28, 2012 and by
        Judges Petty, Chafin and Senior Judge Bumgardner on January 17, 2013
      Judgment of Court of Appeals reversed, appellant’s conviction vacated, and indictment
        dismissed
       (130304)

   5. Lam Dang
      v. Commonwealth of Virginia
      Record No. 0711-12-4
      CAV petition for appeal denied by Judge Huff on December 12, 2012 and by
        Chief Judge Felton, Judges Frank and Alston on February 26, 2013
      Judgment of Court of Appeals affirmed
      (130553)
